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          IN THE UNITED STATES DISTRICT COURT
             EASTERN DISTRICT OF ARKANSAS
                   CENTRAL DIVISION

UNITED STATES OF AMERICA                                     PLAINTIFF

v.                         4:22-cr-219-DPM

BRYANNIA MONIQUE BURKS                                     DEFENDANT

           PRETRIAL ORDER FOR CRIMINAL CASES

     This order is designed to eliminate the need for the filing of,
response to, and ruling upon the Aroutine@ motions. These motions
include the following:

          $   Rule 16 Discovery Motion;

          $   Motion for Disclosure of Exculpatory Evidence;

          $   Motion for Disclosure of Any Offer of Leniency or Plea
              Bargain Between the United States or the State of
              Arkansas and Any Government Witness;

          $   Motion to Preserve Field Notes of Any Interview
              Conducted by Any Government Agent;

          $   Motion for Disclosure of Rule 404(b) Evidence;

          $   Motion for Early Disclosure of Jencks Act Material;

          $   Motion for Extension of Time to File Pretrial Motions;

          $   Motion of United States for Reciprocal Discovery;
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              $   Motion for United States for Notice of Alibi;

              $   Motion by Defendant for Grand Jury Testimony; and

              $   Motion by Defendant for Electronic Surveillance.

1.   Rule 16

     A motion is not required for discovery under Federal Rule of
Criminal Procedure 16. Rule 16(a) states that the Government must
provide discovery upon a defendant=s request, not upon a motion or
upon an order. See 2 CHARLES ALAN WRIGHT & PETER J. HENNING,
FEDERAL PRACTICE AND PROCEDURE ' 261 (4th ed. 2009). Likewise,
Rule 16(b) states that the defendant must provide reciprocal discovery
if the defendant makes discovery requests and the Government
complies with those requests. The Court expects the parties to
provide discovery promptly and to do so without a court order.

2.   Rule 404(b)

      Similarly, a motion is not required for a defendant to obtain Rule
404(b) information. Fed. R. Evid. 404(b) provides, in pertinent part,
Aupon request by the accused, the prosecution in a criminal case shall
provide reasonable notice in advance of trial, or during trial if the court
excuses pretrial notice on good cause shown, of the general nature of
any such evidence it intends to introduce at trial.@ Defendants must
present any request for Rule 404(b) information to the Government, and
the Government must comply with Rule 404(b) without a court order.

3.   Brady /Giglio

      The Government must comply with its constitutional obligation
to disclose any information known to it that is material to the guilt or

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punishment of the defendant whether the defendant requests this
information or not. Brady v. Maryland, 373 U.S. 83 (1963); Giglio v.
United States, 405 U.S. 150 (1972). Brady and Giglio information must
be disclosed in time for effective use at trial. In re United States (United
States v. Coppa), 267 F.3d 132, 142 (2d Cir. 2001); United States v. Olson,
697 F.2d 273 (8th Cir. 1983); cf. United States v. Higgs, 713 F.2d 39, 44 (3d
Cir. 1983).

4.   Jencks Act

     The Court has no authority to order disclosure of Jencks Act
material until a witness has testified. 18 U.S.C. ' 3500. But the Court
encourages early disclosure so that trial delays may be avoided.

5.   Field Notes

      The Government must instruct agents of the United States to
preserve field notes in existence at the time of indictment. The Court
will rule on the discoverability of these field notes if that becomes an
issue. The Court recognizes that the Government reserves its right to
argue that field notes of agents of the United States are not discoverable.

6.   Newly Discovered Information

      It is the continuing duty of counsel for both sides promptly to
disclose to opposing counsel all newly discovered information or other
material within the scope of this order. Fed. R. Crim. P. 16(c).

7.   Non-Compliance

     If a party has not complied with a discovery request, the party
seeking discovery may move the Court to order compliance. Fed. R.
Crim. P. 16(d)(2).    Until a party has unsuccessfully requested

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discovery, no motion is needed. 2 CHARLES ALAN WRIGHT & PETER J.
HENNING, FEDERAL PRACTICE AND PROCEDURE ' 261 (4th ed. 2009).
Counsel must comply with Local Rule 7.2(g) in connection with any
motions to compel discovery.

8.   Pretrial Motions

     Pursuant to Fed. R. Crim. P. 12(c), the deadline for filing pretrial
motions (including motions in limine) is three weeks before trial.
Motions that arise from Jencks Act material are excluded from this
deadline. Filing motions more than three weeks before trial will be
helpful to the Court, i.e., the earlier, the better. The parties are
especially encouraged to file any motions that may require a hearing,
such as a motion to suppress, as soon as possible.

9.    Motions to Suppress

      Motions to suppress evidence obtained from a search pursuant to
a warrant must allege specific facts that, if proven, would provide a
basis of relief. This Court will deny an evidentiary hearing on
suppression motions that are supported only by general or conclusory
assertions founded on mere suspicion or conjecture.

      So Ordered.


                                          ________________________
                                          D.P. Marshall Jr.
                                          United States District Judge

                                          6 September 2022




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